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 10
                                 UNITED STATES DISTRICT COURT
 11                             CENTRAL DISTRICT OF CALIFORNIA
 12
                                      WESTERN DIVISION

 13   Bryce Abbink, individually and on
 14   behalf of all others similarly situated,                 Case No. 8:19-cv-01257-JFW-PJW

 15                                      Plaintiff,               [PROPOSED] ORDER
 16
                                                                  GRANTING PLAINTIFF’S
      v.                                                          MOTION FOR ALTERNATIVE
 17                                                               SERVICE UPON UNIFIED
 18   Experian Information Solutions, Inc.,                       DOCUMENT SERVICES, LLC
      an Ohio corporation, Lend Tech
 19   Loans, Inc., a California corporation,                      Date: September 16, 2019
 20   and Unified Document Services, LLC,                         Time: 1:30 p.m.
      a California Limited Liability                              Judge: Hon. John F. Walter
 21   Company,                                                    Courtroom: 7A
 22                              Defendants.                      Complaint Filed: June 21, 2019

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           [Proposed] Order Granting Plaintiff’s Motion for Alternative Service upon Unified Document Services, LLC
                                                            -1-
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  1           Having considered the moving papers and all other matters presented to the
  2   Court, the Court finds that Plaintiff’s Motion for Alternative Service upon Unified
  3   Document Services, LLC should be granted, and hereby orders as follows:
  4      1.      The Motion is GRANTED.
  5      2.      Plaintiff shall serve the Complaint, Summons, and all other relevant
  6              initiating documents upon Unified Document Services, LLC by hand
  7              delivering the documents to the California Secretary of State.
  8   IT IS SO ORDERED.
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      Date:
                                                        Hon. John F. Walter
 11                                                     United States District Judge
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         [Proposed] Order Granting Plaintiff’s Motion for Alternative Service upon Unified Document Services, LLC
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